                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 1 of 10 Page ID
                                                  #:33745

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          17                            UNITED STATES DISTRICT COURT
          18                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                             SOUTHERN DIVISION
          19
                    MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
          20        a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,
          21        a Delaware corporation,                     DEFENDANT APPLE INC.’S EX
                                                                PARTE APPLICATION FOR AN
          22                           Plaintiffs,              ORDER DIRECTING DEPOSITIONS
                                                                TO PROCEED REMOTELY
          23              v.
                                                                OPPOSED
          24        APPLE INC.,
                    a California corporation,                   EXPEDITED CONSIDERATION
          25                                                    REQUESTED
                                       Defendant.               Magistrate Judge John D. Early
          26                                                    No Hearing Noticed
          27
          28

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                    REGARDING REMOTE DEPOSITIONS                          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 2 of 10 Page ID
                                                  #:33746

            1                        MEMORANDUM OF POINTS AND AUTHORITIES
            2                                      I.     INTRODUCTION
            3             For the past 14 months, litigants across the country have been conducting
            4       depositions remotely in view of the health and safety challenges of the global pandemic.
            5       With less than two months left in fact discovery and dozens of depositions that have not
            6       yet started to complete, Plaintiffs seek to deviate from this practice, which has protected
            7       deponents and litigants from unnecessary safety risks during the pandemic, and demand
            8       that Apple force its employees and counsel to travel to Plaintiffs’ offices in San
            9       Francisco to sit for nearly 100 hours of combined in-person depositions. The pandemic
          10        is not yet over. An average of 48,004 people in the United States were diagnosed with
          11        COVID-19 on each of the seven days leading up to Plaintiffs’ latest demand for in-
          12        person depositions. See Coronavirus in the U.S.: Latest Map and Case Count, The New
          13        York Times (Updated May 10, 2021). In-person depositions require individuals from
          14        numerous households to travel across state lines and gather together indoors for long
          15        periods of time—factors which increase the risk of COVID-19 transmission. For
          16        numerous reasons, including the health and safety of Apple’s employees and counsel,
          17        who are still largely working from home, Apple opposes Plaintiffs’ demand for in-
          18        person depositions and requests that the Court order that depositions in this case—which
          19        must be completed within the next two months—proceed remotely.
          20              Apple requests ex parte relief because an urgent resolution of this issue is
          21        necessary. The parties stipulated to take 100 hours of depositions per side, Plaintiffs
          22        served deposition notices on 12 Apple employees, and fact discovery closes on July 5,
          23        2021—which means there is a large amount of deposition testimony to accomplish in
          24        this case in a short period of time. The deposition process therefore needs to get moving
          25        quickly, and the deponents need dates certain for their depositions so that they can plan
          26        their work and personal lives over the less than two months remaining in fact discovery.
          27              Apple is ready and willing to proceed with these depositions expeditiously, and
          28        has provided to Plaintiffs specific dates in May and June 2021 for each deposition to

Gibson, Dunn &
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                    REGARDING REMOTE DEPOSITIONS              1              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 3 of 10 Page ID
                                                  #:33747

            1       take place remotely. Rather than complying with the current public health guidance and
            2       accepting the dates Apple offered for remote depositions, Plaintiffs insist that Apple
            3       select a future date by which its employees will commit to being “comfortable” with in-
            4       person depositions, so that depositions in the case can be pushed to that future date. This
            5       appears to be a delay tactic to extend fact discovery past the Court-ordered July 5
            6       deadline, and keep the deposition dates in this case in limbo. Plaintiffs will suffer no
            7       prejudice by proceeding remotely and on schedule. Remote depositions provide a
            8       perfectly suitable way to keep this case on schedule while respecting the health and
            9       safety concerns of the litigants and their counsel. Apple respectfully requests that the
          10        Court order the depositions proceed remotely on the current case schedule.
          11                                        II.    BACKGROUND
          12              On April 19, 2021, Plaintiffs served Notices of Deposition on twelve Apple
          13        employees. Andrea Decl. ¶ 4, Ex. A. Eleven of the notices called for in-person
          14        appearances at Plaintiffs’ counsels’ office in San Francisco, CA. Id. Plaintiffs also
          15        noticed one remote deposition of an Apple employee who resides in Japan. Id. Apple
          16        promptly confirmed that it was working with the noticed deponents to obtain their
          17        availability for deposition, and requested that Plaintiffs “arrange to take the depositions
          18        remotely.” Id. ¶ 5, Ex. B. Apple explained that due to Apple’s COVID-19 precautions,
          19        the noticed deponents were working remotely for the foreseeable future, likely at least
          20        until September 2021. Id. On Saturday, April 24, 2021, Plaintiffs responded that they
          21        intended to depose Apple’s employees in person, regardless of Apple’s precautions, and
          22        demanded that Apple provide dates for in-person depositions. Id. ¶ 6, Ex. C.
          23              Apple replied to Plaintiffs on April 28, 2021, explaining that litigants—including
          24        Plaintiffs—have been taking and defending remote depositions over the course of the
          25        past year or more, and noting that Plaintiffs had provided no explanation for why remote
          26        depositions would be inferior or infeasible here. Id.¶ 7, Ex. D. Apple followed up the
          27        next day, April 29, and provided deposition dates for the majority of the noticed
          28        deponents, with the first being May 25, 2021 and the last being June 22, 2021. Id. ¶ 8,

Gibson, Dunn &
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                    REGARDING REMOTE DEPOSITIONS              2              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 4 of 10 Page ID
                                                  #:33748

            1       Ex. E. Apple explained that it was still working with the remaining few proposed
            2       deponents to confirm their availability. Id. Given the many demands on the schedules
            3       of the proposed deponents, Apple requested that Plaintiffs promptly confirm whether
            4       they had any conflicts with the dates offered. Id. Plaintiffs did not respond until late at
            5       night on May 4, 2021, demanding that Apple “let us know when [the] deponents will be
            6       comfortable with an in-person deposition.” Id. ¶ 9, Ex. F. Plaintiffs opined—without
            7       factual or legal support—that deponents should agree to be deposed in person due to
            8       “the low rate of coronavirus,” and the “widespread availability of vaccines.” Id.
            9       Plaintiffs insisted—again without support—that conditions had “drastically improved
          10        today compared to the past year, and even compared to a few weeks ago.” Id.1
          11              On May 7, Apple provided deposition dates for the remaining few individuals and
          12        reiterated that depositions should proceed remotely for health and safety reasons. Id. ¶
          13        10, Ex. G. Apple explained that Plaintiffs in this case have been taking and defending
          14        remote depositions for months, including very recently, and have identified no prejudice
          15        that they would suffer as a result of taking remote depositions in this case. Id. Apple
          16        asked Plaintiffs to confirm by Monday, May 10 that they would agree to proceed
          17        remotely here as well. Id. Plaintiffs have not yet responded to the substance of this
          18        email except to note their intent to oppose Apple’s ex parte application. Id. ¶ 11, Ex. H.
          19              With fact discovery scheduled to close in less than two months, it is imperative
          20        that the parties begin moving forward with depositions. And with the pandemic not yet
          21        over, and Apple employees and counsel largely still working from home, Apple believes
          22        it imperative that those depositions proceed remotely. In view of Plaintiffs’ refusal, and
          23        the impending fact discovery deadline, Apple was left with no choice but to bring this
          24        ex parte application for immediate relief.
          25
          26         1
                       These assertions are sadly contradicted by publicly available data. On May 4, 2021,
                    despite Plaintiffs’ insistence that the rate of coronavirus was “low,” and that conditions
          27        had “drastically improved today compared to the past year,” 40,531 people in the United
                    States were diagnosed with COVID-19, compared with 21,962 new cases one year prior
          28        on May 4, 2020. See Coronavirus in the U.S.: Latest Map and Case Count, The New
                    York Times (Updated May 10, 2021).
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                    REGARDING REMOTE DEPOSITIONS              3              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 5 of 10 Page ID
                                                  #:33749

            1                                    III.    LEGAL STANDARD
            2             Rule 30(b)(4) of the Federal Rules of Civil Procedure allows depositions to “be
            3       taken by telephone or other remote means” upon stipulation or by court order. Fed. R.
            4       Civ. P. 30(b)(4). Courts employ a two-step analysis when determining whether to permit
            5       remote depositions: “First, the proponent must advance a legitimate reason for seeking
            6       a remote deposition. Second, if that foundational showing is made, then the burden
            7       shifts to the opposing party to make a ‘particularized showing’ that conducting the
            8       deposition by remote means would be prejudicial.” Swensen v. GEICO Casualty Co.,
            9       336 F.R.D. 206, 209 (D. Nev. Aug. 19, 2020) (internal citations omitted).
          10               During the COVID-19 pandemic, Courts have consistently held that leave to
          11        proceed with remote depositions should be liberally granted. See, e.g., Hernandez v.
          12        Bobst Grp. N. Am., Inc., 2020 WL 6063143, at *2 (E.D. Cal. Oct. 14, 2020).
          13                                            IV.   ARGUMENT
          14              “Because of the COVID-19 public health emergency… depositions via Zoom and
          15        other remote means have become a necessary and regular occurrence in legal
          16        proceedings.” Raiser v. San Diego County, 19-cv-751, 2021 WL 118901, at *6 (S.D.
          17        Cal. Jan. 13, 2021); see also Grupo Petrotemex, S.A. de C.V. v. Polymetrix A.G., No. 16-
          18        cv-2401, 2020 WL 4218804, at *2 (D. Minn. July 23, 2020) (explaining that conducing
          19        depositions remotely has become commonplace during the COVID-19 pandemic).
          20        Courts regularly order depositions to occur “by remote means if either party prefers that
          21        due to the COVID-19 pandemic.” Franco v. Does, No. 20-cv-05035, 2020 WL 7121536
          22        (C.D. Cal. Sept. 14, 2020). Due to the ongoing health risks posed by the COVID-19
          23        pandemic, it is imperative to Apple that the depositions in this case over the remaining
          24        two months of fact discovery proceed remotely. Plaintiffs are unable to articulate any
          25        prejudice that will befall them if the depositions are remote, but nonetheless threaten to
          26        delay depositions unless and until Apple agrees to require its employees to appear in
          27        person at Plaintiffs’ offices. Plaintiffs’ demands are irrational and unprecedented during
          28        a global pandemic of this nature. Apple already provided Plaintiffs with available dates

Gibson, Dunn &
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                    REGARDING REMOTE DEPOSITIONS              4             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 6 of 10 Page ID
                                                  #:33750

            1       for each noticed deposition to proceed remotely—dates before the close of fact discovery
            2       that will enable Plaintiffs to get testimony from the deponents they want, while keeping
            3       this case on schedule. Delaying depositions until the public health crisis abates is
            4       unwarranted where, as here, remote depositions are a safe and viable alternative.
            5             A.    Apple Has Identified Numerous Legitimate Reasons for Proceeding
                                with Remote Depositions
            6
                          Courts widely recognize that the health risks caused by the COVID-19 pandemic
            7
                    present a “legitimate reason for a remote deposition.” Schoonover v. Iovate Health
            8
                    Sciences U.S.A., Inc., 20-cv-01487, 2020 WL 7094061, at *1 (C.D. Cal. Nov. 9, 2020)
            9
                    (citing Swenson v. GEICO Cas. Co., 336 F.R.D. 206, 211 (D. Nev. 2020) (“physical
          10
                    distancing orders related to the current pandemic are legitimate reasons for holding
          11
                    depositions remotely.”)).
          12
                          The Centers for Disease Control and Prevention and the San Francisco
          13
                    Department of Public Health continue to caution against unnecessary in-person meetings
          14
                    with members of multiple households (regardless of vaccination status). In fact, the San
          15
                    Francisco Department of Public Health Order of the Health Officer dated May 6, 2021
          16
                    “[r]equires that many businesses continue to maximize the number of people who work
          17
                    remotely from home to the extent possible.” (emphasis added). Apple has done so by
          18
                    directing its employees to work remotely to every extent possible, and intends to
          19
                    continue doing so until at least September.
          20
                          Even with the increase in availability of vaccinations and the precautions that can
          21
                    be implemented, in-person depositions still pose numerous recognized risks. That is
          22
                    precisely why current CDC Guidelines recommend “us[ing] videoconferencing or
          23
                    teleconferencing when possible for work-related meetings or gatherings” and avoiding
          24
                    multi-household gatherings when possible.       See Centers for Disease Control and
          25
                    Prevention, Guidance for Businesses and Employers Responding to Coronavirus
          26
                    Disease 2019 (COVID-19), last updated Mar. 8, 2021.           The use of such remote
          27
                    technology is entirely possible here. Plaintiffs have no good reason for resisting its
          28

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                    REGARDING REMOTE DEPOSITIONS              5            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 7 of 10 Page ID
                                                  #:33751

            1       use—particularly where the parties have so little time to begin and complete so much
            2       deposition testimony that requires participation by witnesses and counsel located across
            3       many different states. See Hernandez, 2020 WL 6063143, at *4 (“The safety of
            4       participants is particularly at risk when they must travel out of state to attend the
            5       deposition, as is the case here.”).
            6             To put a finer point on it, the parties have stipulated to taking 100 hours of
            7       deposition testimony on each side and Plaintiffs have noticed the depositions of 12
            8       Apple employees. None of this deposition testimony has occurred yet; there is much to
            9       accomplish before the impending close of fact discovery. Conducting these depositions
          10        in person over the remaining less than two months of fact discovery would force at least
          11        a dozen combinations of individuals from many different households to spend hours
          12        together indoors, increasing the risk of COVID-19 transmission. See, e.g., City and
          13        County of San Francisco, Dep’t. of Public Health, Order of the Health Officer (May 6,
          14        2021) (“The more people who interact…[and] [t]he longer the duration of contacts, the
          15        higher the risk of virus transmission.”). Plaintiffs propose staffing the depositions with
          16        vaccinated attorneys, videographers, and court reporters, but “despite [plaintiffs’]
          17        counsel’s best efforts, it has no control over third parties’ compliance and comfort with
          18        COVID-19-related precautions and cannot guarantee the safety of the parties, counsel,
          19        deponents, videographers, court reporters, or other attendees.” See Hernandez, 2020
          20        WL 6063143, at *4. Moreover, Plaintiffs’ proposal does not speak to the deponents
          21        themselves, and—Apple is restricted by law from divulging its employees’ medical
          22        information to Plaintiffs. See Cal. Civ. Code § 56.20. Further complicating matters is
          23        the time it takes for vaccinations to confer immunity. Even if the deponents and other
          24        deposition participants receive vaccinations prior to their rapidly approaching deposition
          25        dates, the single-dose Johnson & Johnson vaccine takes at least two weeks to begin
          26        conferring protection, and the two-dose Pfizer and Moderna vaccines likewise take at
          27        least two weeks to confer immunity following delivery of the second dose. All told, it
          28        can take roughly six weeks from the first shot of a given vaccine to reach full immunity

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                    REGARDING REMOTE DEPOSITIONS              6             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 8 of 10 Page ID
                                                  #:33752

            1       and protection. Apple should not be required to make deponents, counsel, and staff
            2       available in person when public regulations currently warn against it—especially since
            3       there is an adequate remote alternative.
            4             B.     Plaintiffs Offer No “Particularized Showing” To Support Their
                                 Demand for In-Person Depositions
            5
                          Because Apple has identified legitimate reasons for proceeding with remote
            6
                    depositions, the burden shifts to Plaintiffs to make a “particularized showing” as to why
            7
                    remote depositions would be prejudicial. Swensen, 336 F.R.D. at 209. Plaintiffs have
            8
                    not made any showing, let alone the requisite particularized one. Plaintiffs have not
            9
                    provided a single reason as to why remote depositions would be prejudicial; they merely
          10
                    assert that they “plan to take these depositions in person” and “do not believe it is
          11
                    reasonable” for Apple to oppose this plan in light of the “low rate of coronavirus,” and
          12
                    “widespread availability of vaccines.” Andrea Decl. ¶¶ 7, 10; Exhibits B, F. Simply
          13
                    asserting a preference for in-person testimony (and unilaterally claiming that COVID-
          14
                    19 concerns have abated) is insufficient to overcome Apple’s legitimate reasons for its
          15
                    request to proceed remotely. See Doyel v. ATOS IT Sols. & Servs., Inc., 2020 WL
          16
                    6528421, at *1 (C.D. Cal. June 15, 2020) (ordering remote depositions where counsel
          17
                    failed to “identify[] any specific prejudice or burden,” but merely “expresse[d] a
          18
                    preference” to be in-person).
          19
                          Remote depositions have been proceeding successfully across the state and nation
          20
                    for over a year now. In fact, Plaintiffs themselves have taken and defended numerous
          21
                    remote depositions in recent weeks and months. Andrea Decl. ¶ 10. It comes as no
          22
                    surprise that Plaintiffs have not been able to make a particularized showing of prejudice,
          23
                    as “ample resources exist for counsel to prepare themselves to proceed by video to
          24
                    facilitate the smooth operation of a remote deposition.” Swenson, 336 F.R.D. at 212
          25
                    (rejecting “speculat[ion] that remote depositions are cumbersome and are otherwise
          26
                    insufficient substitutes for in-person depositions.”). Courts have found that remote
          27
                    videoconference depositions “tend to be effective and efficient.” Newirth v. Aegis
          28

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                    REGARDING REMOTE DEPOSITIONS              7             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 9 of 10 Page ID
                                                  #:33753

            1       Senior Comms. LLC, 2020 WL 4459120, at *1 (N.D. Cal. May 27, 2020) (internal
            2       citations omitted). Plaintiffs cannot put forth any compelling reason to put the health of
            3       deponents, counsel, videographers, and court reporters at risk, simply to accommodate
            4       Plaintiffs’ preference. Courts nationwide have specifically rebuffed the suggestion that
            5       remote depositions are prejudicial, and some have even held that videoconferencing
            6       allows for “greater efficiency during depositions” with regard to the handling of
            7       deposition exhibits, and “provides a better opportunity for observing a witness’
            8       demeanor because the witness would not need to wear a mask.” Mosiman v. C & E
            9       Excavating, Inc., 2021 WL 1100597, at *2-3 (N.D. Ind. Mar. 23, 2021) (citing Rouviere
          10        v. DePuy Orthopaedics, Inc., 471 F. Supp. 3d 571, 576 (S.D.N.Y. July 11, 2020)).
          11              Plaintiffs demand that Apple require its employees to name a date by which they
          12        would be comfortable proceeding in-person, presumably in an effort to push the
          13        depositions off until that date. See Andrea Decl. ¶ 9, Ex. F. Courts have repeatedly
          14        rejected such efforts to “delay the depositions at issue to an unspecified date once the
          15        health and safety concerns due to the pandemic permit.” Swenson, 336 F.R.D. at 212
          16        (commenting that “no one knows when that will occur and there are alternatives in that
          17        such depositions can be taken now by remote means”) (internal quotations omitted).
          18        Fact discovery in this case closes in less than two months, and Plaintiffs’ refusal to
          19        accommodate remote depositions is not a reason to veer off the case’s Court-ordered
          20        schedule. See Doyel, 2020 WL 6528421, at *1 (“[T]he pandemic is not a reason to delay
          21        depositions conducted remotely.”); United States for use and benefit of Chen v. K.O.O.
          22        Constr., Inc., 445 F. Supp. 3d 1055, 1057 (S.D. Cal. May 8, 2020) (finding no good
          23        cause to extend fact discovery for sixty days where parties were “rejecting the use of
          24        remote videoconference depositions for reasons of convenience and not true
          25        prejudice.”). Plaintiffs will suffer no prejudice if ordered to take depositions remotely,
          26        as they and countless other litigants across the country have been doing regularly for the
          27        past year. The depositions in this case need to proceed expeditiously. The most efficient
          28        and equitable way for them to do so is remotely.

Gibson, Dunn &
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                    REGARDING REMOTE DEPOSITIONS              8             CASE NO. 8:20-cv-00048-JVS (JDEX)
             Case 8:20-cv-00048-JVS-JDE Document 371-1 Filed 05/10/21 Page 10 of 10 Page ID
                                               #:33754

            1          C.     Ex Parte Relief Is Necessary And Appropriate
            2          Ex parte relief is appropriate here because the rapidly approach fact discovery
            3    cut-off makes this request urgent. This Application could not be heard according to
            4    regularly-noticed motion procedures, as a regularly-noticed motion would not be heard
            5    until June 10, 2021, and the noticed depositions are scheduled to begin May 25, 2021.
            6          The deadline for fact discovery is July 5, 2021 (Dkt. 37), and the parties have
            7    agreed that each side may take up to 100 hours of combined deposition testimony before
            8    that date; therefore, urgent relief is required for all of this deposition testimony to be
            9    completed during the fact discovery period (which is entirely possible if the depositions
          10     proceed remotely and begin this month, as is true of the schedule of dates Apple provided
          11     to Plaintiffs). Moreover, Apple is without fault in creating the need for ex parte relief.
          12     This Application is necessitated by Plaintiffs’ refusal to follow the common practice of
          13     respecting the health and safety of other parties and litigants by taking depositions
          14     remotely during a global pandemic.
          15                                     V.     CONCLUSION
          16           For the foregoing reasons, Apple respectfully requests that the Court issue an
          17     Order compelling Plaintiffs to proceed with depositions remotely and on the dates Apple
          18     has agreed to make each of its deponents available in May and June 2021, or on other
          19     mutually agreeable dates.
          20
          21     Dated: May 10, 2021                    Respectfully submitted,
          22                                            JOSHUA H. LERNER
                                                        H. MARK LYON
          23                                            BRIAN M. BUROKER
                                                        BRIAN A. ROSENTHAL
          24                                            ILISSA SAMPLIN
                                                        ANGELIQUE KAOUNIS
          25                                            BRIAN K. ANDREA
                                                        GIBSON, DUNN & CRUTCHER LLP
          26
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          27                                                 Brian K. Andrea
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Gibson, Dunn &
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                 REGARDING REMOTE DEPOSITIONS              9             CASE NO. 8:20-cv-00048-JVS (JDEX)
